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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


GREGORIO SANTIAGO,
on behalf of himself, FLSA Collective Plaintiffs,
and the Class,                                                 Case No.:

                Plaintiff,                                     CLASS AND COLLECTIVE
                                                               ACTION COMPLAINT
       v.
                                                               Jury Trial Demanded
PIZZA PALS INC.
      d/b/a GRAVESEND PIZZA,
and JOSEPH POSA,

               Defendants.


       Plaintiff GREGORIO SANTIAGO (“Plaintiff SANTIAGO” or “Plaintiff”), on behalf of

himself and others similarly situated, by and through his undersigned attorneys, hereby files this

Class and Collective Action Complaint against Defendants PIZZA PALS INC. d/b/a GRAVESEND

PIZZA (“Corporate Defendant”), and JOSEPH POSA (“Individual Defendant,” and collectively

with the Corporate Defendant, the “Defendants”) and states as follows:

                                        INTRODUCTION

       1.      Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C.

§§201 et. seq. (“FLSA”), that he and others similarly situated are entitled to recover from




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Defendants: (1) unpaid overtime compensation due to a fixed salary; (2) liquidated damages; and

(3) attorneys’ fees and costs.

       2.       Plaintiff further alleges that, pursuant to the New York Labor Law (“NYLL”), he

and others similarly situated are entitled to recover from Defendants: (1) unpaid overtime

compensation due to a fixed salary; (2) statutory penalties; (3) liquidated damages; and (4)

attorneys’ fees and costs.

       3.       Plaintiff alleges on behalf of himself, and others similarly situated that Defendants

willfully filed fraudulent information returns regarding Plaintiff and Class Members with the

Internal Revenue Service (“IRS”), in violation of 26 U.S.C. § 7434.

       4.       Plaintiff further alleges on behalf of himself, and others similarly situated, that

Defendants breached their contract with Plaintiff and Class Members by failing to pay employer

payroll taxes for Plaintiff and Class Members, as required by the Federal Insurance Contribution

Act (“FICA”).

       5.       Plaintiff also alleges that, in retaining these sums for themselves, Defendants

unjustly enriched themselves at the expense of Plaintiff and Class Members.

                                 JURISDICTION AND VENUE

       6.       This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b), 28

U.S.C. §§1331, 1337 and 1343, and has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. §1367.

       7.       Venue is proper in the Eastern District pursuant to 28 U.S.C. §1391.

       8.       The IRS will be notified of this Complaint as the Internal Revenue Code requires.

Specifically, the Internal Revenue Code provides that “[a]ny person bringing an action under [26




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U.S.C. § 7434] Subsection (a) shall provide a copy of the complaint to the IRS upon the filing of

such complaint with the court.” 26 U.S.C. § 7434(d).

                                           PARTIES

       9.     Plaintiff GREGORIO SANTIAGO is a resident of Queens County, New York.

       10.    Defendants operate a pizzeria under the trade name “Gravesend Pizza,” located at

181 34th Street, Brooklyn, NY 11232 (the “Pizzeria”).

       11.    Corporate Defendant PIZZA PALS INC. d/b/a GRAVESEND PIZZA is a domestic

business corporation with a principal place of business at 181 34th Street, Brooklyn, NY 11232,

and an address for service of process at 462 Annadale Road, Staten Island, NY 10312.

       12.    Individual Defendant JOSEPH POSA is an owner and principal of the Corporate

Defendant. Defendant JOSEPH POSA exercises operational control as it relates to all employees

including Plaintiff, FLSA Collective Plaintiffs, and the Class. JOSEPH POSA frequently visited

the Pizzeria. He exercises the power to (and also delegates to managers and supervisors the power

to) fire and hire employee, supervise and control employee work schedules and conditions of

employment, and determine the rate and method of compensation of employees including those of

Plaintiff, FLSA Collective Plaintiffs, and the Class. At all times employees could complain to

JOSEPH POSA directly regarding any of the terms of their employment, and JOSEPH POSA had

the authority to effect any changes to the quality and terms of employees’ employment, including

changing their schedule, compensation, or terminating or hiring such employees, and to reprimand

any employees for performing their job duties improperly.

       13.    At all relevant times, Corporate Defendant was and continues to be an “enterprise

engaged in commerce” within the meaning of the FLSA.




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       14.     At all relevant times, the work performed by Plaintiff, FLSA Collective Plaintiffs

and Class Members were directly essential to the business operated by Defendants.

       15.     At all relevant times, Plaintiff was Defendants’ employee within the meaning of

NYLL § § 2 and 651.

       16.     At all relevant times, Defendants were Plaintiff’s employers within the meaning of

NYLL § § 2 and 651.

       17.     Plaintiff has fulfilled all conditions precedent to the institution of this action and/or

such conditions have been waived.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

       18.     Plaintiff brings claims for relief as a collective action pursuant to FLSA Section

16(b), 29 U.S.C. § 216(b), on behalf of all non-exempt employees, including, but not limited to,

pizza people, cooks, cashiers, delivery persons, bussers, and food preparers among others,

employed by Defendants on or after the date that is six (6) years before the filing of the Complaint

in this case as defined herein (“FLSA Collective Plaintiffs”).

       19.     At all relevant times, Plaintiff and FLSA Collective Plaintiffs are and have been

similarly situated, have had substantially similar job requirements, and pay provisions, and are and

have been subjected to Defendants’ decisions, policies, plans, programs, practices, procedures,

protocols, routines, and rules, all culminating in a willful failure and refusal to pay overtime

premiums, due to a fixed salary. The claims of Plaintiff stated herein are essentially the same as

those of FLSA Collective Plaintiffs.

       20.     The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to § 16(b) of the FLSA, 29 U.S.C. § 216(b). The FLSA Collective

Plaintiffs are readily ascertainable. For purposes of notice and other purposes related to this action,


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their names and addresses are readily available from Defendants. Notice can be provided to the

FLSA Collective Plaintiffs via first class mail to the last address known to Defendants.

                      RULE 23 CLASS ALLEGATIONS – NEW YORK

       21.     Plaintiff brings claims for relief pursuant to the Federal Rules of Civil Procedure

(“FRCP”) Rule 23, on behalf of all non-exempt employees, including, but not limited to pizza

people, cooks, cashiers, delivery persons, bussers, and food preparers, among others, employed by

Defendants on or after the date that is six years before the filing of the Complaint in this case as

defined herein (the “Class Period).

       22.     All said persons, including Plaintiff, are referred to herein as the “Class.” The Class

Members are readily ascertainable. The number and identity of the Class Members are

determinable from the records of Defendants. The hours assigned and worked, the position held,

and rates of pay for each Class Member are also determinable from Defendants’ records. For

purposes of notice and other purposes related to this action, their names and addresses are readily

available from Defendants. Notice can be provided by means permissible under FRCP 23.

       23.     The proposed Class is so numerous that a joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the Court. Although the

precise number of such persons is unknown, the facts on which the calculation of that number are

presently within the sole control of Defendants, there is no doubt that there are more than forty

(40) members of the Class.

       24.     Plaintiff’s claims are typical of those claims, which could be alleged by any

member of the Class, and the relief sought is typical of the relief, which would be sought by each

member of the Class in separate actions. All the Class Members were subject to the same corporate

practices of Defendants, as alleged herein, of: (i) failing to pay overtime wages due to a fixed



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salary; (ii) failing to provide proper wage statements per requirements of the NYLL; and (iii)

failing to provide wage and hour notices, at date of hiring and annually, per requirements of the

NYLL.

        25.    Defendants’ corporate-wide policies and practices affected all Class Members

similarly, and Defendants benefited from the same type of unfair and/or wrongful acts as to each

Class member. Plaintiff and other Class Members sustained similar losses, injuries and damages

arising from the same unlawful policies, practices and procedures.

        26.    Plaintiff is able to fairly and adequately protect the interests of the Class and has no

interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced and

competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.

        27.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of the wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendant. Class action treatment will permit a large number of similarly situated

persons to prosecute common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because losses, injuries and damages suffered by each of the individual Class members are small

in the sense pertinent to a class action analysis, the expenses and burden of individual litigation

would make it extremely difficult or impossible for the individual Class members to redress the

wrongs done to them. On the other hand, important public interests will be served by addressing

the matter as a class action. The adjudication of individual litigation claims would result in a great

expenditure of Court and public resources; however, treating the claims as a class action would



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result in a significant saving of these costs. The prosecution of separate actions by individual

members of the Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual members of the Class, establishing incompatible standards of conduct for

Defendant and resulting in the impairment of class members’ rights and the disposition of their

interests through actions to which they were not parties. The issues in this action can be decided

by means of common, class-wide proof. In addition, if appropriate, the Court can, and is

empowered to, fashion methods to efficiently manage this action as a class action.

       28.      Defendants and other employers throughout the state violate the NYLL. Current

employees are often afraid to assert their rights out of fear of direct or indirect retaliation. Former

employees are fearful of bringing claims because doing so can harm their employment, future

employment, and future efforts to secure employment. Class actions provide class members who

are not named in the Complaint a degree of anonymity, which allows for the vindication of their

rights while eliminating or reducing these risks.

       29.      There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

             a) Whether Defendants employed Plaintiff and Class Members within the meaning of

                the NYLL;

             b) What were and are the policies, practices, programs, procedures, protocols and

                plans of Defendants regarding the types of work and labor for which Defendants

                did not pay Plaintiff and the Class Members;

             c) At what common rate, or rates subject to common methods of calculation, was and

                are Defendants required to pay Plaintiff and Class Members for their work;




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             d) Whether Defendants properly notified Plaintiff and Class Members of their hourly

                rate and overtime rate;

             e) Whether Defendants paid Plaintiff and Class Members proper wages for all hours

                worked, including overtime hours;

             f) Whether Defendants paid Plaintiff and Class Members on a fixed salary;

             g) Whether Defendants paid Plaintiff and Class Members the overtime premium at

                one-and-one-half times their straight time base hourly rates for all hours worked in

                excess of forty (40) each workweek;

             h) Whether Defendants provided proper wage statements to Plaintiff and Class

                Members per requirements of the NYLL;

             i) Whether Defendants provided wage and hour notices to Plaintiff and Class

                Members, at date of hiring and annually, per requirements of the NYLL;

             j) Whether Defendants failed to withhold taxes from the wages of Plaintiff and the

                Class; and

             k) Whether Defendants provided Plaintiff and the Class with accurate tax statements

                for each tax year that they worked.

                                   STATEMENT OF FACTS

       30.      In or around April 2021, Plaintiff SANTIAGO started working as a pizzaman for

Defendants at their Pizzeria, “Gravesend Pizza,” located at 181 34th Street, Brooklyn, NY 11232.

Plaintiff was terminated in or around May 2022.

       31.      Throughout his employment with Defendants, Plaintiff was scheduled to work from

8:00 a.m. to 3:00 p.m. for six (6) days per week, for a total of forty-two (42) hours per week. FLSA

Collective Plaintiffs and Class Members worked a similar number of hours each week.



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       32.     Throughout his employment with Defendants, Plaintiff was paid eight hundred

($800.00) dollars a week on a fixed salary basis. He was paid both in check and cash. FLSA

Collective Plaintiffs and Class Members were similarly compensated weekly in check and cash at

a fixed salary regardless of how many hours they worked each day

       33.     However, Plaintiff SANTIAGO was not paid overtime premiums for the two (2)

overtime hours he worked each week, and there was no agreement that his fixed salary would

cover overtime premiums. Based on his personal observations and conversations with co-workers,

other employees of Defendants were also paid on a fixed salary basis without overtime premiums.

       34.     As a result of Defendants’ paying Plaintiff, FLSA Collective Plaintiffs, and Class

Members in checks and cash, Defendants failed to provide Plaintiff, FLSA Collective Plaintiffs,

and Class Members with accurate IRS Forms W-2 for all the tax years of their employment and

failed to properly record, account for, and report to the IRS all monies paid to Plaintiff, FLSA

Collective Plaintiffs, and Class Members. In failing to account for these monies in their IRS filings,

Defendants filed fraudulent information in violation of 26 U.S.C. § 7434. Under 26 U.S.C. §

7434(b), Defendants are liable for at least five thousand dollars ($5000) to Plaintiff, FLSA

Collective Plaintiffs, and Class Members for each fraudulent filing, which would have to be at

least once a year.

       35.     In violating the Internal Revenue Code by failing to provide proper W-2 forms,

Defendants also breached their contract with Plaintiff, FLSA Collective Plaintiffs, and Class

Members to pay the employer’s share of Social Security and Medicare taxes for each employee.

       36.     Defendants also unjustly enriched themselves at the expense of Plaintiff, FLSA

Collective Plaintiffs, and Class Members by retaining monies that should have been remitted to

the IRS on behalf of Plaintiff, FLSA Collective Plaintiffs, and Class Members.



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        37.     As a result, Plaintiff, FLSA Collective Plaintiffs, and Class Members will either (1)

 be liable to the IRS for the employer’s share of FICA taxes or (2) upon retirement, suffer from

 diminished Social Security and Medicare benefits because they did not pay enough into the system.

        38.     The employer’s share of Social Security taxes is 6.2%. The employer’s share of

 Medicare taxes is 1.45%. Accordingly, Defendants must compensate Plaintiff, FLSA Collective

 Plaintiffs, and Class Members 7.65% of all their earnings from Defendants beginning six (6) years

 prior to the filing of this Complaint.

        39.     Defendants are liable to Plaintiff, FLSA Collective Plaintiffs, and Class Members

 for failing to pay FICA taxes for the wages earned by Plaintiff, FLSA Collective Plaintiffs, and

 Class Members.

        40.     In failing to provide proper wage statements and notices, Defendants have failed to

 comply with the law in a manner that clearly entails a concrete risk of harm to an interest identified

 by the New York State legislature. Defendants’ failure to provide such notices trivializes the

 importance of these notices in protecting Plaintiff's interest in ensuring proper pay. Despite

 Defendants’ conduct, there is a reason why the New York legislature concluded that enacting wage

 notice provisions would "far better protect workers' rights and interests" than existing

 penalties. See N.Y. Spons. Mem., 2010 S.B. 8380. Written notices function as a means of apprising

 employees of their rights and of their employer's obligations towards them, empowering

 employees to advocate for themselves. Deprivation of such notices necessarily entails a significant

 risk of harm to the employees' concrete interest in being paid properly and timely.

        41.     Due to Defendants’ failure to provide legally mandated notices such as earning

 statements and wage notices, Defendants were able to hide their wrongdoing from employees, and

 continue to attempt to hide their wrongdoing necessitating the current litigation. The failure to



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 provide NYLL notices continues to result in delayed payment of all proper wages owed to Plaintiff

 and Class Members.

         42.     Defendants knowingly and willfully operated their business with a policy of not

 compensating Plaintiff and Class Members for all hours worked, including overtime, due to a

 policy of paying a fixed salary.

         43.     Defendants knowingly and willfully operated their business with a policy of not

 providing employees proper wage statements as required under NYLL.

         44.     Defendants knowingly and willfully failed to provide wage notices to employees,

 at the beginning of employment and annually thereafter, pursuant to the requirements of the

 NYLL.

         45.     Plaintiff retained Lee Litigation Group, PLLC to represent Plaintiff, FLSA

 Collective Plaintiffs, and the Class, in this litigation and has agreed to pay the firm a reasonable

 fee for its service.

                                    STATEMENT OF CLAIM

                                             COUNT I

                    VIOLATION OF THE FAIR LABOR STANDARDS ACT


         46.     Plaintiff realleges and incorporates all the foregoing paragraphs of this Class and

 Collective Action Complaint as fully set forth herein.

         47.     At all relevant times, Defendants were and continue to be employers engaged in

 interstate commerce and/or the production of goods for commerce within the meaning of the

 FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff and FLSA Collective Plaintiffs are

 covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).




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        48.     At all relevant times, Defendants employed Plaintiff and FLSA Collective Plaintiffs

 within the meaning of the FLSA.

        49.     At all relevant times, Corporate Defendant had gross annual revenues in excess of

 $500,000.00.

        50.     At all relevant times, Defendants had a policy and practice of failing to pay all

 wages, including overtime, for all hours worked to Plaintiff and FLSA Collective Plaintiffs due to

 a policy of compensating employees on a fixed salary basis.

        51.     At all relevant times, Defendants had a policy and practice of failing to pay

 overtime wages to Plaintiff and FLSA Collective Plaintiffs for hours worked in excess of forty

 (40) per workweek at the proper overtime rate that is at least one-and-one-half times the regular

 rate of pay.

        52.     Records, if any exist, concerning the number of hours worked by Plaintiff and

 FLSA Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA Collective

 Plaintiffs are in the possession and custody of Defendants. Plaintiff intends to obtain these records

 by appropriate discovery proceedings to be taken promptly in this case and, if necessary, Plaintiff

 will then seek leave of Court to amend this Complaint to set forth the precise amount due.

        53.     Defendants knew of and/or showed a willful disregard for the provisions of the

 FLSA as evidenced by their failure to compensate Plaintiff and FLSA Collective Plaintiffs for all

 hours worked, including overtime, when Defendants knew or should have known such was due.

        54.     Defendants failed to properly disclose or apprise Plaintiff and FLSA Collective

 Plaintiffs of their rights under the FLSA.




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        55.     As a direct and proximate result of Defendants’ willful disregard of the FLSA,

 Plaintiff and FLSA Collective Plaintiffs are entitled to liquidated (i.e., double) damages pursuant

 to the FLSA.

        56.     Due to the intentional, willful and unlawful acts of Defendants, Plaintiff and FLSA

 Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid wages,

 including overtime, due to being compensated on a fixed salary, plus an equal amount as liquidated

 damages.

        57.     Plaintiff and FLSA Collective Plaintiffs are entitled to an award of his reasonable

 attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b).

                                             COUNT II

                      VIOLATION OF THE NEW YORK LABOR LAW

        58.     Plaintiff realleges and incorporates all the foregoing paragraphs of this Class and

 Collective Action Complaint as fully set forth herein.

        59.     At all relevant times, Plaintiff and Class Members were employed by Defendants

 within the meaning of the NYLL §§ 2 and 651.

        60.     At all relevant times, Defendants had a policy and practice of failing to pay Plaintiff

 and Class Members the full amount of wages, including overtime, due under the NYLL.

        61.     Defendants willfully violated the rights of Plaintiff and Class Members by failing

 to pay them overtime compensation at the rate of not less than one and one-half times the regular

 rate of pay for each hour worked in excess of forty (40) hours in a workweek due to a policy of

 compensating employees on a fixed salary basis.




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           62.   Defendants knowingly and willfully failed to provide wage and hour notices, at the

 date of hiring and annually thereafter, to Plaintiff and Class Members, as required by NYLL §

 195(1).

           63.   Defendants knowingly and willfully failed to provide proper wage statements to

 Plaintiff and Class Members with every wage payment, as required by NYLL § 195(3). Defendants

 provided fraudulent wage statements that failed to accurately reflect the proper compensation

 owed and hours worked by Plaintiff and Class Members.

           64.   Due to the Defendants’ NYLL violations, Plaintiff and Class Members are entitled

 to recover from Defendants their unpaid wages, including overtime, due to being compensated on

 a fixed salary; statutory penalties; reasonable attorneys’ fees; and costs and disbursements of the

 action.

                                            COUNT III

    CIVIL DAMAGES FOR FRAUDULENT FILING OF INFORMATION RETURNS
                        UNDER 26 U.S.C. § 7434(a)


           65.   Plaintiff realleges and incorporates all the foregoing paragraphs of this Class and

 Collective Action Complaint as if fully set forth herein.

           66.   Under the Internal Revenue Code, “[i]f any person willfully files a fraudulent

 information return with respect to payments purported to be made to any other person, such person

 may bring a civil action for damages against the person so filing such return.” 26 U.S.C. § 7434(a).

           67.   By failing to provide Plaintiff, FLSA Collective Plaintiffs, and Class Members with

 accurate IRS Forms W-2 for all of the tax years during which they were employed by Defendants

 and failing to properly record, account for, and report to the IRS all monies paid to Plaintiff, FLSA




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 Collective Plaintiff, and Class Members as wages, Defendants filed fraudulent information returns

 with the IRS, in violation of 26 U.S.C. § 7434.

           68.   Defendants knew they had a legal duty not to misrepresent to the IRS the amount

 of money they were paying employees. Defendants’ actions were willful violations of, or showed

 reckless disregard for, the provisions of the Internal Revenue Code.

           69.   Pursuant to 26 U.S.C. § 7434(b)(3), Defendants are also liable to Plaintiffs for

 reasonable attorneys’ fees.

                                             COUNT IV

                                    BREACH OF CONTRACT

           70.   Plaintiff realleges and incorporates all the foregoing paragraphs of this Class and

 Collective Action Complaint as if fully set forth herein, and further alleges as follows.

           71.   “In New York, all contracts imply a covenant of good faith and fair dealing in the

 course of performance … This covenant embraces a pledge that neither party shall do anything

 which will have the effect of destroying or injuring the right of the other party to receive the fruits

 of the contract … [T]he duties of good faith and fair dealing … encompass any promises which a

 reasonable person in the position of the promisee would be justified in understanding were

 included [in the contract].” 511 W. 232nd Owners Corp. v. Jennifer Realty Co., 98 N.Y.2d 144,

 153, 773 N.E.2d 496, 500-501, 746 N.Y.S.2d 131, 135-136, 2002 N.Y. LEXIS 1579, *10-11

 (2002).

           72.   When Plaintiff and Class Members accepted offers of employment from

 Defendants, the parties entered a contract, and the covenant of good faith and fair dealing implicit

 therein required Defendants to pay Plaintiff and Class Members in accordance with all applicable




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 laws. This involved, inter alia, a duty by abide by the Internal Revenue Code and pay all required

 FICA taxes.

        73.     Defendants breached this duty when they decided to pay Plaintiff and Class

 Members in cash and not file proper W-2. As a result, Plaintiff and Class Members lost part of

 the benefit of the bargain for which they contracted, suffering a loss in the amount of the FICA

 taxes that Defendants should have paid on their behalf but did not.

                                             COUNT V

                                    UNJUST ENRICHMENT

        74.     Plaintiff realleges and incorporates all the foregoing paragraphs of this Class and

 Collective Action Complaint as if fully set forth herein, and further alleges as follows.

        75.     To state a claim for unjust enrichment, a plaintiff must allege that: “(1) the

 [defendant] was enriched, (2) at [plaintiff's] expense, and (3) that it is against equity and good

 conscience to permit the [defendant] to retain what is sought to be recovered.” Georgia Malone &

 Co., Inc. v Rieder, 19 NY3d 511, 516, 973 NE2d 743, 950 NYS2d 333 (2012) (internal quotations

 omitted).

        76.     Defendants were unjustly enriched when they kept for themselves money that

 should have been paid to the Internal Revenue Service as Defendants’ employer FICA

 contribution. Such came at the expense of Plaintiff and Class Members because they will either

 (1) be liable to the IRS for the employer’s share, or (2) upon retirement suffer from diminished

 Social Security and Medicare benefits because they did not pay enough into the system.

        77.     Accordingly, all sums that Defendants should have paid to the IRS should be

 disgorged from Defendants and transferred to Plaintiff and Class Members.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself, FLSA Collective Plaintiffs, and Class

 Members, respectfully requests that this Court grant the following relief:

        a. A declaratory judgment that the practices complained of herein are unlawful under the

            FLSA, and the NYLL;

        b. A declaratory judgment that the practices complained of herein are unlawful under 26

            U.S.C. § 7434 and that Defendants breached their contract with, and/or unjustly

            enriched themselves at the expense of, Plaintiff and Class Members;

        c. An injunction against Defendants and their officers, agents, successors, employees,

            representatives and any and all persons acting in concert with them as provided by law,

            from engaging in each of the unlawful practices, policies, and patterns set forth herein;

        d. An award of unpaid overtime compensation at the proper rate of one-and-one-half

            times the regular rate of pay for hours worked in excess of forty (40) per workweek,

            due under the FLSA and NYLL;

        e. An award of liquidated damages as a result of Defendants’ willful failure to pay the

            proper wages, including overtime, pursuant to the FLSA and/or NYLL;

        f. Contractual damages for Defendants’ failure to keep their promise to abide by the

            Internal Revenue Code and fund Plaintiff’s and Class Members’ retirement through

            FICA contributions;

        g. An award of statutory penalties, prejudgment, and post judgment interest, costs, and

            expenses of this action together with reasonable attorney’s fees and expert fees and

            statutory penalties;

        h. Designation of Plaintiff as a Representative of the FLSA Collective Plaintiffs;



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         i. Designation of this action as a Class Action pursuant to FRCP 23;

         j. Designation of Plaintiff as Representatives of the Class; and

         k. Such other and further relief as this Court deems just and proper.




                                            JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

 jury on all issues so triable as of right by jury.

 Dated: October 13, 2022

                                                           Respectfully submitted,
                                                           By:   /s/ C.K. Lee
                                                                 C.K. Lee, Esq.

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